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11                                UNITED STATES DISTRICT COURT

12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN FRANCISCO DIVISION

14
     IN RE: CATHODE RAY TUBE (CRT) ANTI-                 Master File No. 3:07-CV-5944 SC
15   TRUST LITIGATION                                    MDL No. 1917
     _______________________________________
16
     This Document Relates To:                           DEFENDANTS CHUNGHWA PICTURE
17                                                       TUBES, LTD. AND CHUNGHWA
     ViewSonic Corporation v. Chunghwa Picture           PICTURE TUBES (MALAYSIA) SDN.
18   Tubes, Ltd., et al., No. 3:14-cv-02510-SC           BHD.’S REPLY IN SUPPORT OF MO-
                                                         TION FOR PARTIAL SUMMARY
19                                                       JUDGMENT FOR LACK OF STANDING
                                                         AS TO VIEWSONIC CORPORATION
20
                                                         Date:          February 6, 2015
21                                                       Time:          10:00 a.m.
                                                         Judge:         Hon. Samuel Conti
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        CHUNGHWA’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO
                                  VIEWSONIC - MASTER CASE NO. 07-CV-5944 SC
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES
 2                                          I.   INTRODUCTION
 3           ViewSonic Corporation (“ViewSonic”) never purchased cathode ray tubes (“CRTs”) from
 4    Chunghwa Picture Tubes, Ltd. or Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. (collectively
 5    “Chunghwa”), and therefore its Sherman Act claim is foreclosed by Illinois Brick’s bar on indirect
 6    purchaser suits. Illinois Brick Co. v. Illinois, 431 U.S. 720, 734-35 (1977). While ViewSonic argues
 7    that its claims survive under the Royal Printing exception, which allows an indirect purchaser to
 8    bring a Sherman Act claim when it purchased the price-fixed product from an entity owned or con-
 9    trolled by a price-fixing conspirator, that exception does not apply here because Chunghwa did not
10    own or control either Tatung Company (“TCO”) or Jean Co., Ltd. (“Jean), the companies from which
11    ViewSonic purchased finished products. Royal Printing Co. v. Kimberly-Clark Corp., 621 F.2d 323,
12    326 (9th Cir. 1980). Indeed, ViewSonic does not dispute that Chunghwa does not own or control
13    these companies. Thus, the Royal Printing exception does not apply.
14           Faced with these facts, ViewSonic tries to turn the Royal Printing exception upside down, by
15    arguing that it applies because TCO and Jean each allegedly own or control Chunghwa. That argu-
16    ment depends on extending the exception to the situation where a direct purchaser owns or controls a
17    conspirator, the exact opposite of the scenario addressed in Royal Printing. That theory cannot be
18    squared with the express language of Royal Printing and its progeny or the rationale behind the ex-
19    ception. But even if the exception could so apply, and it cannot, ViewSonic’s claim still fails because
20    neither TCO nor Jean own or control Chunghwa. All three companies are separate, publicly held
21    companies, each managed by its own board of directors and with obligations to its own shareholders.
22           As addressed below, none of the vague arguments that ViewSonic presents in its Opposition
23    about family connections or similar board members raises a genuine issue of material fact as to own-
24    ership or control. Notably lacking is any evidence that the Lin family owns a majority of shares of
25`   any of the companies, controls their boards of directors, or in any other way controls the companies.
26    No court has ever applied the Royal Printing exception to facts similar to these. Accordingly,
27    Chunghwa’s motion for summary judgment (“Motion”) should be granted as to ViewSonic’s Sher-
28    man Act claim to the extent it is based on purchases from TCO and Jean. To the extent ViewSonic


          CHUNGHWA’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO
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 1    seeks damages based on purchases from Tatung Company of America, Inc. (“TUS”), Chunghwa’s
 2    Motion is unopposed and should be granted.
 3                                            II.   ARGUMENT
 4    A.      ViewSonic Does Not Contest That Judgment For Chunghwa Is Appropriate As To TUS.
 5            Chunghwa explained in its Motion that ViewSonic’s claim relating to TUS is not subject to
 6    the Royal Printing exception because Chunghwa does not own or control TUS. Mot. 2, 6-7, 11-12.
 7    ViewSonic’s Opposition does not dispute that it lacks standing to bring a claim based on purchases
 8    from TUS. See Opp’n 1 (referencing alleged overcharges of monitors purchased from “Tatung Com-
 9    pany (‘Tatung’) and Jean Co. Ltd. (‘Jean’)”). Accordingly, summary judgment is appropriate. See
10    Image Tech. Serv., Inc. v. Eastman Kodak Co., 903 F.2d 612, 615 n.1 (9th Cir. 1990) (failure to raise
11    an issue in opposition to a defendant’s motion for summary judgment waived the issue).
12    B.      ViewSonic Cannot Satisfy The Royal Printing Exception Because Chunghwa Does Not
13            Own Or Control TCO Or Jean.
              Summary judgment is appropriate as to ViewSonic’s claim based on purchases from TCO and
14
      Jean, because ViewSonic’s claim does not fall within the Royal Printing exception.
15

16            1.     The Relevant Period Is The Time During Which TCO Or Jean Could Bring Suit.

17            In determining whether an ownership or control relationship exists under Royal Printing, the

18    relevant time period is the period after an alleged conspiracy came to light. This is because the Ninth

19    Circuit explained in Royal Printing that the purpose of the exception is to vindicate private antitrust

20    enforcement where the direct purchaser cannot bring litigation itself due to ownership or control by a

21    conspirator. See Royal Printing, 621 F.2d at 326; see also In re ATM Fee Antitrust Litig., 686 F.3d

22    741, 758 n.10 (9th Cir. 2012) (“[T]he concern in Royal Printing of a controlling party prohibiting the

23    direct purchaser from suing is not present here.”) (emphasis added).

24            Here, by plaintiff’s own lights, the relevant time period is after November 25, 2007, as View-

25`   Sonic alleges that defendants concealed the alleged conspiracy until at least that date. Mot. 5.1

26    ViewSonic does not dispute that this period is relevant, but asserts without explanation that the Court
       1
27         The Opposition incorrectly states that “Chunghwa fails to . . . explain how or why it chose the
           November start date.” Opp’n 16.
28


           CHUNGHWA’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO
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 1    should expand its inquiry to the alleged conspiracy period. Opp’n 16 (“ownership or control at any
 2    point during a conspiracy is sufficient”). That makes no sense. Under ViewSonic’s approach, if this
 3    Court finds ownership or control in 1995—an insignificant fraction of the alleged conspiracy period,
 4    and 12 years before TCO or Jean could possibly have brought suit, that would be enough. Such a
 5    construction is inconsistent with the policy of Illinois Brick and the Supreme Court’s instruction that
 6    exceptions to the Illinois Brick bar on indirect purchaser suits should be construed narrowly. See In
 7    re ATM, 686 F.3d at 749 (noting the Supreme Court’s “reluctance in carving out exceptions to the
 8    Illinois Brick rule” and that the existing exceptions are “limited”).
 9            ViewSonic cites to one district court case addressing the timing issue, Costco Wholesale
10    Corp. v. AU Optronics Corp., No. 13-cv-1207, 2014 WL 4540068 (W.D. Wash. Sept. 11, 2014).
11    Opp’n 16. This case does not support ViewSonic’s argument, nor does it reject the approach pro-
12    posed by Chunghwa, as ViewSonic contends. Id. In Costco, defendants argued a “date-of-suit rule”
13    under which the only relevant time for the ownership/control inquiry is “the day the plaintiff sues.”
14    Costco Wholesale Corp., 2014 WL 4540068 at *3. The court rejected this narrow formulation, ex-
15    plaining that the MDL court in the TFT-LCD litigation had never espoused a “one-size-fits-all timing
16    rule” because “[t]he timing of control is surely relevant in some cases.” Id. at *6. While the court in
17    Costco noted the potential concern that companies could avoid liability by divesting subsidiaries after
18    the conspiracy, there is no evidence here that TCO’s multi-year gradual reduction of its ownership
19    interest in Chunghwa was motivated by any improper purpose. Indeed, TCO’s ownership interest
20    steadily and consistently decreased every year from at least 1995 through 2004, indicating a long-
21    term strategy that began more than a dozen years before lawsuits were even a possibility. See Mot.
22    11 (TCO’s ownership decreased from 56.83% in 1995 to below 15% in 2004); Opp’n 9-10 (chart
23    showing TCO’s declining ownership from 1995 through 2013).2
24            Under these circumstances, and based on the policy underlying the Royal Printing exception,
25`
       2
26         In the other district court case cited by ViewSonic, the court considered ownership and control
           during the conspiracy period, but did not discuss or state any rule or rationale as to the timing is-
27         sue. Opp’n 17 (citing In re TFT-LCD (Flat Panel) Antitrust Litig., MDL 1827, 2012 WL
           7062366, at *4-5 (N.D. Cal. Dec. 26, 2012)). Thus, that case sheds no light on this issue.
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           CHUNGHWA’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO
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 1    it is logical to consider evidence of control during the period in which it would have been possible for
 2    TCO or Jean to bring suit against Chunghwa. The relevant period is after November 25, 2007.
 3            2.     Chunghwa Does Not Own TCO Or Jean.
 4            The Royal Printing exception does not apply to ViewSonic’s claim because the undisputed
 5    evidence shows that Chunghwa did not own or control TCO or Jean. TCO is a publicly held compa-
 6    ny managed by its own board of directors. Mot. 5-6. ViewSonic does not dispute that Chunghwa did
 7    not hold a majority of TCO’s shares, did not control TCO’s board, and did not involve itself in
 8    TCO’s day-to-day business decisions. Id. at 6. Nor does ViewSonic dispute that Chunghwa’s very
 9    few representatives on TCO’s board constituted far less than a majority. Id. at 6, 6 n.2 (two
10    Chunghwa directors of a nine- to thirteen-member board during the relevant period, and never a ma-
11    jority). The undisputed evidence also shows that Chunghwa does not own or control Jean, also a
12    publicly held corporation managed by its own board of directors. Id. at 6-7 & 11. Chunghwa has
13    never owned any shares of Jean, and no Chunghwa directors or officers have ever concurrently held a
14    position with Jean.3 Id. at 7.
15            In its Opposition, ViewSonic does not even attempt to argue, let alone present any evidence,
16    that Chunghwa owned TCO or Jean, or that, through minority representation on the board of direc-
17    tors, financial arrangements, or otherwise, Chunghwa was somehow able to control TCO or Jean.
18    Thus, the Royal Printing exception does not apply and summary judgment is appropriate.
19    C.      ViewSonic’s Attempt To Avoid Summary Judgment By Reversing The Exception Fails.
20            Unable to meet the Royal Printing exception, ViewSonic argues that the exception should al-
21    so apply to the reverse situation of a direct purchaser owning or controlling an alleged conspirator,
22    and that the exception applies here because TCO and Jean supposedly own or control Chunghwa.
23    Opp’n 12-16. This argument fails because ViewSonic’s reading of the Royal Printing exception is
24    incorrect, and because the undisputed facts demonstrate that neither TCO nor Jean owns or controls
25`   Chunghwa.
26
       3
27         These facts regarding TCO and Jean are true for the relevant period, as well as the alleged con-
           spiracy period. Mot. 7.
28


           CHUNGHWA’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO
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 1           1.      The Royal Printing Exception Does Not Apply To A Direct Purchaser’s
                     Ownership Or Control Over A Conspirator.
 2
             As explained in the Motion, Royal Printing carved out a “limited exception[]” to Illinois
 3
      Brick’s ban on indirect purchaser antitrust suits. In re ATM, 686 F.3d at 749. The Ninth Circuit in
 4
      Royal Printing expressly limited the exception to situations where a conspirator owns or controls the
 5
      direct purchaser. E.g., Royal Printing, 621 F.2d at 326 (“Illinois Brick does not bar an indirect pur-
 6
      chaser’s suit where the direct purchaser is a division or subsidiary of a co-conspirator.”) (emphasis
 7
      added); In re ATM, 686 F.3d at 749 (stating that the exception applies when “a conspiring seller owns
 8
      or controls the direct purchaser”) (emphasis added).
 9
             Royal Printing and cases relying on it have consistently framed the exception in this way be-
10
      cause the exception is meant to address the situation where a conspirator that owns or controls a di-
11
      rect purchaser will forbid it from suing: “Royal Printing created an exception when parental control
12
      existed, because applying Illinois Brick would eliminate the threat of private enforcement, and close
13
      off every avenue for private enforcement. The co-conspirator parent will forbid its subsidiary or di-
14
      vision to bring a lawsuit that would only reveal the parent[’]s own participation in the conspiracy.” In
15
      re ATM, 686 F.3d at 756 (internal citations and quotation marks omitted); see also id. at 758 n.10
16
      (“[T]he concern in Royal Printing of a controlling party prohibiting the direct purchaser from suing is
17
      not present here.”). In creating the exception, the Royal Printing court reasoned that in “the situation
18
      where the direct purchaser is controlled by a co-conspirator . . . . particularly where the alternative
19
      would be to virtually immunize price-fixed transactions from private liability,” the Supreme Court
20
      would “find the practical risk of multiple liability so small as to be ‘acceptable.’” Royal Printing,
21
      621 F.2d at 327 n.8.
22
             The Court should decline to expand the ownership/control exception as ViewSonic suggests.
23
      The rationale underlying the exception—to vindicate antitrust rights where they otherwise obviously
24
      will not be vindicated because the conspirator owns or controls the direct purchaser with standing to
25`
      sue—would not apply to a direct purchaser that owns or controls a conspirator. Here, TCO and Jean
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      can seek to vindicate their rights by seeking redress from Chunghwa or any of the other alleged con-
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          CHUNGHWA’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO
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 1    spirators. Even if Chunghwa were owned or controlled by TCO and Jean, which it is not, Chunghwa
 2    could not prevent those companies from bringing suit.
 3            ViewSonic incorrectly states that In re ATM “held that the ownership/control exception ap-
 4    plies where the direct purchaser owns or controls the seller/conspirator.” Opp’n 13. There was no
 5    such holding in that case. Rather, ViewSonic’s argument rests solely on the Ninth Circuit’s applica-
 6    tion of the Royal Printing exception to a complicated set of facts far different than in this case. See
 7    Mot. 10 (depending on the specific ATM transaction, the bank defendants were both the upstream
 8    sellers and the downstream purchasers of the price-fixed fees). ViewSonic’s understanding of In re
 9    ATM cannot be reconciled with the Ninth Circuit’s consistent expression of the exception throughout
10    the decision as applying to the situation where a conspirator owns or controls the direct purchaser, not
11    the other way around. See, e.g., In re ATM, 686 F.3d at 749 (“[I]ndirect purchasers may sue when
12    customers of the direct purchaser own or control the direct purchaser, or when a conspiring seller
13    owns or controls the direct purchaser.”) (internal citations omitted); id. at 757 (“We decline to extend
14    the exception noted in Royal Printing and Freeman to situations where the seller does not own or
15    control the direct purchasers. . . .”) (emphasis added).
16            The only decision in which a court has expressly held that the Royal Printing exception ap-
17    plies to the situation where a direct purchaser owns or controls a conspirator is In re TFT-LCD (Flat
18    Panel) Antitrust Litig., No. 07-md-1827, 2012 WL 5869588, at *3 (N.D. Cal. Nov. 19, 2012). As
19    explained in Chunghwa’s Motion, that case was wrongly decided. Mot. 10. And no other court has
20    explicitly addressed the issue and reached the same conclusion.4
21            ViewSonic points to two other district court cases that cite to the TFT-LCD decision, but nei-
22    ther of those cases expressly addresses the issue before this Court. Opp’n 14-16. The first case is
23    another decision in the TFT-LCD litigation, where the court simply followed its earlier decision and
24    applied the exception to a direct purchaser’s ownership/control over an alleged conspirator without
25`
       4
           ViewSonic also points to a snippet of dicta from an out-of-circuit decision, In re Brand Name
26         Prescription Drugs Antitrust Litig., 123 F.3d 599, 605 (7th Cir. 1997), but that case contains no
           discussion or analysis of whether the exception applies to a direct purchaser’s ownership or con-
27         trol over a conspirator. Opp’n 16 n.60. It simply notes in passing that the court “suppose[d]” the
           exception might apply where the customer owned a conspirator, something not before the court.
28


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 1    any discussion of the issue. In re TFT-LCD, 2012 WL 7062366, at *4-5 (N.D. Cal. Dec. 26, 2012).
 2    The second case, also in the TFT-LCD litigation, was issued after the MDL court (Judge Illston) re-
 3    turned the case to the district in which it was originally filed (the Western District of Washington) for
 4    trial. Costco Wholesale Corp. v. AU Optronics Corp., No. 13-cv-1207, 2014 WL 4674390 (W.D.
 5    Wash. Sept. 18, 2014). There, the court did not apply the Royal Printing exception, which had al-
 6    ready been addressed by Judge Illston; rather, the court was ruling on a motion in limine addressing
 7    defendants’ attempt to introduce evidence intended to minimize upstream pass-through, an argument
 8    foreclosed by Royal Printing. Id. at *2. These cases are therefore not instructive on this issue.5
 9            2.      TCO Does Not Own Or Control Chunghwa.
10            As described above, the Royal Printing exception does not apply when a direct purchaser
11    owns or controls a conspirator. ViewSonic must show that Chunghwa, the alleged conspirator,
12    owned or controlled TCO, and there are no facts to support that conclusion. But even if the exception
13    could be reversed as ViewSonic argues, TCO did not own or control Chunghwa.
14                    a.     TCO Held A Minority Interest In Chunghwa During the Relevant Period.
15            It is undisputed that TCO has not owned a majority of Chunghwa’s shares since the alleged
16    CRT conspiracy became public. Indeed, TCO held far less than a majority—at most 11.22%—of
17    Chunghwa’s shares. Mot. 10; Opp’n 9-10. Even if the Court were also to count the shares of
18    Chunghwa owned by one of TCO’s subsidiaries, Chunghwa Electronics Development Co. (“CED”),
19    they still held far less than a majority of Chunghwa’s shares during the relevant period—26.9% in
20    2007, and decreasing to 15.92% by 2013, the year before ViewSonic filed suit. Opp’n 9-10.6 This
21

22     5
           The court did briefly address the Royal Printing issue in a separate decision a week earlier. Cost-
           co Wholesale Corp. v. AU Optronics Corp., No. 13-cv-1207, 2014 WL 4540068 (W.D. Wash.
23         Sept. 11, 2014). In a footnote, the Court simply acknowledged the TFT-LCD court’s ruling on
           the issue: “Among the MDL court’s rulings was that the control exception applies not only when
24         a conspirator controls the entity from which a plaintiff purchased price-fixed goods, but also
           when that entity controls a conspirator. Nov. 19, 2012 MDL Ord. (Dkt. #297) at 5. Defendants
25`        believe the MDL’s ruling was error, but they do not challenge it in this motion.” Id. at *2 n.2.
           This simple recitation of what previously was decided in TFT-LCD adds nothing.
26
       6
           Combining the direct and indirect ownership further attenuates any ability of TCO to “own” or
27         “control” Chunghwa and would once again expand an exception to Illinois Brick—against the
           Supreme Court’s express instruction. See In re ATM, 686 F.3d at 744 & 757.
28


           CHUNGHWA’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO
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 1    disposes of the ownership issue.7
 2                   b.      Whether TCO “Controlled” Chunghwa is Wholly Irrelevant.
 3            Unable to establish that TCO owned a majority of Chunghwa, ViewSonic devotes much at-
 4    tention to whether TCO nonetheless “controls” Chunghwa. That question, however, is logically ir-
 5    relevant to the Royal Printing analysis. Even if ownership of a defendant by the direct customer were
 6    relevant under Royal Printing, the separate question of “control” in the absence of majority owner-
 7    ship makes sense only if the defendant could control the direct customer. Where, as here, the argu-
 8    ment is that the direct customer controls the defendant, Royal Printing is not implicated because the
 9    defendant has no ability to prevent the direct customer from seeking redress. See Royal Printing, 621
10    F.2d at 326. In other words, “control” in the absence of ownership logically matters only in the sce-
11    nario that case discusses, and not the expansive alternative ViewSonic presses here.
12                   c.      In Any Event, TCO Did Not Control Chunghwa.
13            Although not relevant, the undisputed evidence shows that TCO did not control Chunghwa.
14    ViewSonic argues that TCO’s minority stock ownership together with other “indicia” is sufficient to
15    establish control over Chunghwa, Opp’n 19, but none of ViewSonic’s purported evidence or conclu-
16    sory statements, alone or taken together, is sufficient to raise a genuine issue of material fact.
17            Importantly, ViewSonic does not dispute that Chunghwa and TCO, each publicly held corpo-
18    rations, are run by their own boards of directors. Mot. 11; see also Opp’n Ex. 5 (Chunghwa’s Corpo-
19    rate Governance document, describing the company’s management by the board of directors); id. Ex.
20    2 (TCO’s 2014 Annual Meeting of Shareholders Handbook (same)). As directors of publicly held
21    corporations, Chunghwa’s and TCO’s boards of directors have fiduciary obligations to their share-
22    holders and must manage the companies in the interests of their respective shareholders. Mot. 6 &
23    11; see also Declaration of Austin V. Schwing (“Schwing Decl.”), Ex. A (Taiwan Company Act, Art.
24    23). It is a fundamental principle of corporate law that corporations cannot be managed for the bene-
25`   fit of a minority of shareholders or for particular directors or officers. That is no different in Taiwan
26
       7
           Even if one considers ownership during the alleged conspiracy period, not since 2002 have TCO
27         and CED combined held 50% of Chunghwa’s shares and not since 1996 has TCO had a majority
           position. Opp’n 9, 18. This falls far short of satisfying the Royal Printing requirements.
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 1    than in the U.S. See Schwing Decl. Ex. A. And it is the entire board of directors that has the power
 2    and responsibility to run the corporation and make decisions, not just the Chairman. See Opp’n Ex. 5
 3    (Chunghwa’s Corporate Governance document, stating that Chunghwa’s board of directors “[is] the
 4    ultimate body responsible for the company’s management”); id. Ex. 2 (TCO’s 2014 Annual Meeting
 5    of Shareholders Handbook, describing management by the company’s board of directors). Further,
 6    the evidence shows that TCO and Chunghwa had independent directors on their boards, the boards of
 7    directors were elected by the shareholders, and the companies had corporate governance and conflict
 8    of interest policies in place.8 And ViewSonic does not dispute that TCO representatives were a mi-
 9    nority of Chunghwa’s board for most of the relevant period—2009 to the present. Mot. 11.9
10            “A plaintiff who alleges domination of a board of directors and/or control of its affairs must
11    prove it.” In re ATM Fee, 686 F.3d at 757. While some courts have considered factors beyond ma-
12    jority stock ownership or majority board representation as relevant to the inquiry, courts have also
13    emphasized that the exception must be narrowly construed and requires a showing of “such function-
14    al economic or other unity between the direct purchaser and . . . the defendant . . . that there effective-
15    ly has been only one sale.”10 Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 424 F.3d 363,
16    371-72 (3d Cir. 2005); Jewish Hosp. Ass’n v. Stewart Mech. Enters., Inc., 628 F.2d 971, 975 (6th
17
       8
18         See, e.g., Opp’n Ex. 2, at 20 (describing involvement of TCO’s independent directors in “en-
           forcement of corporate governance”); id. at 16 (election of TCO’s directors by shareholders); id.
19         at 69 (requiring at least three independent directors on TCO’s board of directors); Opp’n Ex. 5
           (election of Chunghwa’s directors by shareholders); id. (requiring written audit reports to be de-
20         livered to Chunghwa’s Chairman, independent directors, and supervisors); id. (requiring recusal
           from any vote on an item in which an “interested-party relationship” exists).
21
       9
           ViewSonic’s chart of “Interlocking Directorates” in the Opposition confirms this fact when
22         viewed in combination with Chunghwa’s annual reports, which provide the number of directors
           on the board in each year. Opp’n Exs. 12-24. And that chart is wrong as to Chuang-Yin Yang
23         and Wen-Chieh Peng, whom ViewSonic identifies as interlocking directors, because they served
           as directors of Chunghwa, and concurrently as officers of TCO. See Ex. 31 (TCO 2006 Annual
24         Report, not listing Chuang-Yin Yang as director); id. Ex. 38 (TCO 2013 Annual Report, not list-
           ing Wen-Chieh Peng as a director).
25`
      10
           ViewSonic recites a list of factors that courts have considered in the control inquiry, but none of
26         the cases cited by ViewSonic held that any of these factors, alone or together, are “dispositive.”
           Opp’n 17-18 (citing In re Brand Name Prescription Drugs Antitrust Litig., 123 F.3d at 605-606;
27         Sun Microsystems Inc. v. Hynix Semiconductor Inc., 608 F. Supp. 2d 1166, 1180 (N.D. Cal.
           2009); In re TFT-LCD, 2012 WL 7062366, at *4-5).
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 1    Cir.1980) (same); Sun Microsystems Inc. v. Hynix Semiconductor Inc., 608 F. Supp. 2d 1166, 1180
 2    (N.D. Cal. 2009) (same); see also In re ATM, 686 F.3d at 757 (control means to “exercise restraint, or
 3    direction over; dominate, regulate or command” or to have “the power or authority to guide or man-
 4    age”). Neither a minority interest in a publicly held corporation nor minority representation on a
 5    board of directors comes close to the degree of control required by Royal Printing.
 6                           (i)     “Family Enterprise”
 7           Given these facts, ViewSonic is forced to make its main argument that TCO and Chunghwa
 8    are part of a “family enterprise” founded and allegedly controlled by the Lin family. Opp’n 2-3. In
 9    support of that theory, ViewSonic cites voluminous documents to show that T.S. Lin, Chairman of
10    TCO from 1942 to 2006, founded Chunghwa in 1971, and that Lin family members have held leader-
11    ship positions at both companies. See, e.g., id. at 3-8. But mere family connections or influence is
12    not the test. ViewSonic cites no cases where the Royal Printing exception was met in such circum-
13    stances, or even where such facts were found relevant. That is because the exception requires that a
14    conspirator “own” or “control” the direct purchaser. Royal Printing, 621 F.2d at 326.
15           ViewSonic baldly asserts that TCO and Chunghwa are not in fact “independent entities oper-
16    ating at arm’s length.” Opp’n 2. But it provides no evidence that the Lin family controls either
17    Chunghwa or TCO, or that the Lin family can control one company through the other. There is no
18    evidence that Lin family members own a majority of shares of either company, constitute a majority
19    of TCO’s or Chunghwa’s board of directors, or have the ability to direct either company’s litigation
20    decisions. For example, ViewSonic argues that the current Chunghwa Chairman and his wife, who
21    are part of the Lin family, have “a significant financial interest” in TCO due to their shareholdings,
22    but those shareholdings total less than 1% (0.51%). Id. Ex. 38, at 11. And ViewSonic does not even
23    attempt to provide specific shareholdings of any other Lin family members, relying on rhetoric alone.
24           What little evidence that ViewSonic does present relating to the Lin family is not indicative of
25`   control. ViewSonic attempts to make much of the fact that the Chairmen of TCO’s and Chunghwa’s
26    boards have all been members of the Lin family. ViewSonic contends that “[a]s Chairmen, the Lins
27    wield significant power over the overall strategic directions of Tatung, Chunghwa, and Jean” and are
28    “ultimately responsible for the strategic decision of whether to permit Tatung to initiate a significant


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 1    lawsuit.” Id. at 5, 20. In support of this statement, ViewSonic cites corporate governance documents
 2    noting the duties of each company’s Chairmen, and deposition testimony that former Chunghwa
 3    Chairman C.Y. Lin had been given “great powers” in managing Chunghwa—an unsurprising fact that
 4    has no bearing on the issues raised here. Id. at 5 n.15. And while ViewSonic speculates that “the fact
 5    that T.S. Lin and his sons have managed to retain the Chairmanship each and every single time that
 6    the Chairmanship comes up for a vote, is further proof that the Lin family controls both companies,”
 7    id. at 21, this conclusory statement is not evidence of control. As ViewSonic admits, TCO’s Chair-
 8    man is elected by the board of directors. Id. at 21. There is simply no evidence that the Lin family
 9    controls that board. Thus, this evidence is insufficient to create a genuine issue of fact as to control.
10                            (ii)    “Interlocking Directorates”
11            ViewSonic also points to “interlocking directorates” between TCO and Chunghwa, including
12    some Lin family members, as indicative of control. Opp’n 20-21. But the fact that the companies
13    have a few directors in common, without more, is not evidence that one company controls the other
14    within the meaning of Royal Printing. More importantly, it is not evidence that TCO’s board manag-
15    es that company to protect the interests of Chunghwa rather than TCO. Chunghwa could not require
16    TCO to do so through its small number of overlapping directors. As explained above, Chunghwa had
17    very few representatives on TCO’s board, and far less than a majority. Mot. 6, 6 n.2. And there is no
18    evidence that this minority was somehow able to control the board. In re ATM Fee, 686 F.3d at 757
19    (“A plaintiff who alleges domination of a board of directors and/or control of its affairs must prove
20    it.”); In re TFT-LCD, 2014 WL 1568870, at *3 (N.D. Cal. Apr. 18, 2014) (rejecting control argument
21    based on an “interlocking directorship” where plaintiff failed to allege the interlocking director “con-
22    trolled the . . . boards of directors” or allege “the size or composition of the . . . boards of directors”).
23            Further, even though TCO’s control of Chunghwa is irrelevant to the Royal Printing inquiry,
24    there is also no evidence that TCO controlled Chunghwa through its overlapping directors on
25`   Chunghwa’s board. It is undisputed that TCO representatives were a minority of Chunghwa’s board
26    for most of the relevant period—2009 to the present. Mot. 11. And it is undisputed that Chunghwa
27    is independently managed by its board and officers, and that TCO is not involved in the day-to-day
28    operation of Chunghwa. Id.


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 1                           (iii)   “Intertwined Economic Interests”
 2            ViewSonic also argues that TCO and Chunghwa’s alleged “intertwined economic interests”
 3    are evidence of control. Opp’n 19. But as explained above, there is no evidence that Chunghwa had
 4    the ability to control TCO’s decisions, much less its litigation decisions. Mot. 6. And to the extent
 5    the Court finds TCO’s control over Chunghwa relevant, which it is not, there is no evidence that TCO
 6    is able to set Chunghwa’s prices, or that TCO controls Chunghwa through financial arrangements or
 7    other method of control.
 8            ViewSonic points to generic statements made in TCO’s annual reports that the companies are
 9    “affiliated” and deposition testimony that Chunghwa is effectively “a subsidiary” of TCO. Opp’n 8,
10    19. ViewSonic also argues that the companies previously shared a business address and shared or
11    currently share factory locations.11 Id. at 8. But mere affiliation and shared interests are not suffi-
12    cient. None of these relationships, without more, shows that TCO “‘exercise[d] restraint or direction
13    over; dominate[d], regulate[d], or command[ed],’ or to ha[d] ‘the power or authority to guide or man-
14    age’” Chunghwa—the definition of control under Royal Printing. See In re ATM, 686 F.3d at 757.
15            ViewSonic also places great emphasis on a one-sentence disclosure in TCO’s 2014 Annual
16    Meeting of Shareholders Handbook stating that “in order to enhance Tatung group’s vertical integra-
17    tion of industries and group’s competitiveness, [TCO] arranged Chunghwa Picture Tubes Co. Ltd. to
18    purchase the shares of Giantplus Technology Co. Ltd.” Opp’n 19, Ex. 2. That TCO “arranged” for
19    this transaction is not evidence of control. Rather, this language is indicative of a plan or collabora-
20    tion between the companies which was beneficial to both. In re ATM, 686 F.3d at 758 (“input on pol-
21    icies and pricing issues” or “[t]he ability to offer ideas [to the corporation] cannot be construed as an
22    ability to manage the affairs [of the corporation]”); In re New Motor Vehicles Canadian Exp. Anti-
23    trust Litig., 307 F. Supp. 2d 136, 143 (D. Me. 2004) (allegations that car dealers “make financial
24    agreements with manufacturers to help buy vehicles or establish dealerships, that manufacturers force
25`
      11
           ViewSonic cites a “Tatung Corporate Sustainability Report” as evidence of shared factory loca-
26         tions. Opp’n at 8 n.26, 20, n.66. This report was not submitted as an exhibit to the Opposition,
           and cannot be considered as part of the summary judgment record. Fed. R. Civ. P. 56(c)(1)(A).
27         ViewSonic also cites a Chunghwa 2013 annual report attached as evidence of shared factory loca-
           tions, but that exhibit does not mention shared factory locations. Opp’n Ex. 24.
28


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 1    chargeback penalties on dealers, [and] that vehicles are priced on the basis of manufacturers’ sugges-
 2    tions” did not satisfy the control exception); Collins v. Int’l Dairy Queen, 59 F. Supp. 2d 1305, 1310-
 3    11 (M.D. Ga. 1999) (Dairy Queen’s extension of large amounts of credit to its authorized ware-
 4    houses, reservation of the right to audit the warehouses’ books, and requirement that Dairy Queen
 5    approve any sale of the company owning the warehouses did not satisfy the control exception).
 6            ViewSonic also points to Chunghwa’s 2006 and 2007 annual reports, which list TCO in the
 7    “Transactions between shareholders” section as a “Corporate shareholder with the ability to control.”
 8    Mot. 10. But Chunghwa’s English versions of these annual reports use very different language, de-
 9    scribing TCO as “The Company’s major stockholder” in the 2006 annual report and “The Company’s
10    major stockholder represented on the Company’s board of directors” in the 2007 annual report; they
11    do not mention “control.” Decl. of Wang Chih Cheng in Supp. of Mot. for Summ. J., Exs. A & B. In
12    any event, this isolated statement in the Chinese version (even assuming it is correctly translated),
13    with no explanation of what “control” means in this context, falls short of establishing the requisite
14    level of control as that term is used in Royal Printing. E.g., Royal Printing, 621 F.2d at 326 (“Con-
15    trol” means “parental control” over “litigation decisions”).
16                    d.      The Possibility That TCO Would Sue Chunghwa Is Irrelevant.
17            Finally, ViewSonic contends that the Royal Printing exception applies because there is “no
18    realistic possibility” that TCO would ever sue Chunghwa. Opp’n 22. ViewSonic argues that TCO
19    has never filed a lawsuit against Chunghwa or threatened to sue, that Chunghwa and TCO have used
20    the same counsel, and that Chunghwa and TCO have the same Chairman. Id. ViewSonic also sug-
21    gests that TCO would never sue “a fellow member of the ‘Lin family enterprise.’” Id. at 20.
22            ViewSonic’s speculation about the likelihood of TCO suing Chunghwa is irrelevant and in-
23    sufficient to overcome the Illinois Brick bar, absent evidence of ownership or control. The Ninth
24    Circuit has clarified that the “no realistic possibility” inquiry is not a separate exception to the Illinois
25`   Brick rule. In re ATM, 686 F.3d at 756 (“Freeman outlines that, whether a realistic possibility of suit
26    exists, depends on the existence of ownership or control between the direct purchaser and the sell-
27    er.”); see also In re TFT-LCD, 2012 WL 7062366, at *6 (N.D. Cal. Dec. 26, 2012) (“Because Cost-
28    co’s argument relies solely on the unlikelihood that [the direct purchasers] would sue AUO or a co-


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 1    conspirator, without providing evidence of an ownership or control relationship between these enti-
 2    ties, the Court grants summary judgment.”).
 3            In any event, all this shows is that the two Taiwanese companies have resolved disputes with-
 4    out resort to litigation. “[I]t is well established that the fact that direct purchasers may choose not to
 5    institute antitrust actions of their own does not establish an exception to the Illinois Brick rule.” In re
 6    Microsoft Corp. Antitrust Litig. 127 F. Supp. 2d 702, 713 n.7 (D. Md. 2001) (citing Illinois Brick,
 7    431 U.S. at 746 (“We recognize that direct purchasers sometimes may refrain from bringing a treble-
 8    damages suit for fear of disrupting relations with their suppliers.”)). The fact is that no ownership or
 9    control relationship precluded TCO from bringing suit against Chunghwa. Indeed, TCO’s 50%-
10    owned U.S. subsidiary, TUS, exercised its right to recover from Chunghwa by submitting a claim as
11    a member of the direct purchaser class in the TFT-LCD litigation. Mot. 7. That TCO and Jean did
12    not do the same may just as easily be explained by the fact that their claims based on foreign pur-
13    chases are barred by the Foreign Trade Antitrust Improvements Act, or may simply indicate that like
14    many outside the U.S. they resolved things privately rather than resort to litigation.
15            In sum, ViewSonic fails to raise a genuine issue of fact as to the application of the Royal
16    Printing exception to its claims based on purchases from TCO.
17            3.      Jean Does Not Own Or Control Chunghwa.
18            ViewSonic’s argument with respect to Jean is even more attenuated. Indeed, the Opposition
19    devotes only one paragraph specifically to Jean. Opp’n 23-24. That is not surprising. As explained
20    above, Chunghwa does not own or control Jean, and therefore the Royal Printing exception does not
21    apply. But even if the Royal Printing exception were to apply to the reverse situation of a direct pur-
22    chaser owning a conspirator, Jean does not own or control Chunghwa.
23            ViewSonic does not contend that Jean ever owned shares of Chunghwa, or that any Jean di-
24    rectors or officers concurrently held a position at Chunghwa.12 Instead, ViewSonic’s sole argument
25`   with respect to Jean is that “a control relationship existed between Jean and Chunghwa” based on the
26
      12
           ViewSonic’s translations of certain of Chunghwa’s annual reports incorrect list Jean as a “share-
27         holder” or “stakeholder.” Opp’n Exs. 16-18. The correct translation is “related party.” Wang
           Decl. ¶ 4.
28


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 1    Lin family connection. Opp’n 24. ViewSonic points to the fact that former Chunghwa Chairman,
 2    C.Y. Lin, became Chairman of Jean in 2003 after leaving Chunghwa, and that his son took over the
 3    Chairmanship in 2012. Id. at 23-24. ViewSonic also points to the fact that another of C.Y. Lin’s
 4    sons currently serves as a director at Jean. Id. at 4.13 This is not evidence of control. ViewSonic pre-
 5    sents no evidence that the Lin family owns a majority of shares of either Jean or Chunghwa, consti-
 6    tutes a majority of their boards of directors, or has the ability to direct either company’s litigation de-
 7    cisions. There is no basis for the Court to find the Royal Printing exception met with respect to Jean.
 8    Summary judgment should be granted on all direct purchaser claims related to CRTs sold to Jean.
 9    D.      The Court Should Not Consider Evidence ViewSonic Failed To Timely Disclose When
              Considering This Motion.
10
              Pursuant to Civil Local Rule 7-3(c), Chunghwa objects to previously undisclosed evidence
11
      submitted in support of the Opposition, specifically: Heaven Declaration, Exhibits 2 (TCO 2014 An-
12
      nual Meeting of Shareholders Handbook), 5 (Chunghwa Corporate Governance document), 7 (Decla-
13
      ration of Ernest Huang), and 10 (Tatung Corporate Milestones). As explained in the motion to ex-
14
      clude filed concurrently with this reply, Dkt. 3473,14 these documents and the identity of the witness
15
      were directly responsive to Chunghwa’s discovery requests seeking all facts, documents, and wit-
16
      nesses supporting ViewSonic’s ownership/control contentions, but ViewSonic inexplicably did not
17
      disclose them. The evidence should therefore be excluded from this Court’s analysis. See Fed. R.
18
      Civ. Proc. 37(c); Yeti by Molly Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001).
19
                                              III.   CONCLUSION
20
              For the foregoing reasons, the Court should grant summary judgment in favor of Chunghwa
21
      as to ViewSonic’s Sherman Act claim to the extent it is based on purchases from TCO, TUS, and
22
      Jean.
23
      13
24         To the extent that ViewSonic relies on a statement in Jean’s 2011 annual report that Chunghwa
           was a “related party” because “[i]t’s [sic] Chairman has parent-child relationship with Chairman
25`        of [TCO],” this statement has nothing to do with any control relationship between Chunghwa and
           Jean. Opp’n 19 n.64 (Ex. 50). This statement is from Jean’s disclosure regarding “related party
26         transactions” which addresses potential conflicts of interest.
      14
27         Chunghwa has filed a motion to shorten time requesting that the motion to exclude be heard on
           March 6, 2015 at the same time as this Motion. Dkt. 3474.
28


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 1    DATED: January 23, 2015                    GIBSON, DUNN & CRUTCHER LLP
 2                                               By:            /s/Rachel S. Brass
                                                                   Rachel S. Brass
 3
                                                 Attorneys for Defendants
 4                                               CHUNGHWA PICTURE TUBES, LTD. and
                                                 CHUNGHWA PICTURE TUBES (MALAYSIA) SDN.
 5                                               BHD.
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         CHUNGHWA’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO
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 1                                           DECLARATION OF SERVICE
 2             I, Christine Fujita, declare as follows:
 3           I am employed in the County of San Francisco, State of California; I am over the age of eight-
      een years and am not a party to this action; my business address is 555 Mission Street, Suite 3000,
 4    San Francisco, California, 94105, in said County and State. On the date below, I served the within:

 5             DEFENDANTS CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA PIC-
               TURE TUBES (MALAYSIA) SDN. BHD.’S REPLY IN SUPPORT OF MOTION FOR
 6             PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO VIEWSON-
               IC CORPORATION
 7
               DECLARATION OF AUSTIN V. SCHWING IN SUPPORT OF DEFENDANTS
 8             CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA PICTURE TUBES (MA-
               LAYSIA) SDN. BHD.’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUM-
 9             MARY JUDGMENT FOR LACK OF STANDING AS TO VIEWSONIC CORPORA-
               TION
10
               DECLARATION OF WANG CHIH CHENG IN SUPPORT OF DEFENDANTS
11             CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA PICTURE TUBES (MA-
               LAYSIA) SDN. BHD.’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUM-
12             MARY JUDGMENT FOR LACK OF STANDING AS TO VIEWSONIC CORPORA-
               TION
13
      to all named counsel of record as follows:
14
                     BY ECF (ELECTRONIC CASE FILING): I e-filed the above-detailed documents uti-
15                   lizing the United States District Court, Northern District of California’s mandated ECF
                    (Electronic Case Filing) service on January 23, 2015. Counsel of record are required by
16                   the Court to be registered e-filers, and as such are automatically e-served with a copy of the
                     documents upon confirmation of e-filing.
17
             I certify under penalty of perjury that the foregoing is true and correct, that the foregoing doc-
18    ument(s) were printed on recycled paper, and that this Declaration of Service was executed by me on
      January 23, 2015, at San Francisco, California.
19

20                                                                       /s/Christine Fujita
                                                                            Christine Fujita
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          CHUNGHWA’S REPLY IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT FOR LACK OF STANDING AS TO
                                    VIEWSONIC - MASTER CASE NO. 07-CV-5944 SC
